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December 28, 2020

Via ECF

Hon. Analisa Torres, USDJ
United States District Court, SDNY

40 Foley Square,
New York, NY 10007

Re: Caltempa Molina v. Buena Vista Tortillas Corp. et al
Case No: 20-CV-04925 (AT)(KHP)
Motion for Extension of Time
Dear Judge Torres:

My firm represents plaintiff Maricela Caltempa Molina (“Plaintiff’ or “Molina”) in the
above-referenced action, and I respectfully write to seek a brief one-week extension of the
deadline for Plaintiff to file her motion for settlement approval. This request is being made
because some additional time is needed to finalize the papers and process. No prior request for
an extension of this deadline was made.

We thank the Court in advance for its time and consideration.

Respectfully submitted,
Abdul Hassan Law Group, PLLC GRANTED. By January 5, 2021, Plaintiff shall file her
motion for settlement approval.
/s/ Abdul Hassan

 

By: Abdul K. Hassan, Esq. (AH6510)

SO ORDERED.
Counsel for Plaintiff

Dated: December 29, 2020
New York, New York

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ANALISA TORRES
United States District Judge

cc: Defense Counsel via ECF

 
